Case 1:18-cv-00878-CCC-MP Document 42-1 Filed 03/25/19 Page 1 of 12

In The United States bistrict court For the Middle bispepgde0l
Office of Gul
Pennsylvania actcomaay

mata SA
william Mayo, Civil Oction%® 13.

Plaintiff,
V Hon. Judge John E. Jones UL
John E.wetzel,
befendants. civil Ry nis complaint
\

Plaintifts Motion To compe|

Now comes Plaintiff, wilhham Moyo pro Se Viti ant, whom
would Ke to motion this Court nune pro ihe pursuant
to Rule 8#Ca) Fed. R Civ.P. to compel befendants’ to disclose
cerhain tanaible parts of discoveru, inwhich would pro -
vide stcintith the obill ty to be able to present a ef-

fective case.
Bret Hi story of Relevant Facts

Plaintiff on September 14,2014 Med a motion for en-

bey of default ied ment in regard to it rd Plain -
+) fp. po sition - at’ that time-—that betendant& Failed
to Nile o re Spon sive pleading

a
OM
oo
>

2. ON Oclober 1, 201% 4h

suet Menied Plaintiffs mohion

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Yor entry of delault ye ment in a order establishing
that befendants has ° led an answer” (1d.), however
Failed \4 acKknowled e the mohivahin Pactor that com
pelled Plaintift bo Fi the abovementioned motion.

8. Plaintitt would like to empha size on the motivatin
Factor, thusly because it bein self-evident that des
spite befendants answer bei on Pile, however Plain-
WEP didatt receive o cop “aWhich is a blatant vio-
lation to Rule 260d) Fed. R.Civ.? which has subsequent
ly place Plaintitt ato disadvantage

4.0n October 9, 201% Plainhift sent bebendants a letter
re questin O copy of the answer to Plaintiff's com -
plaint lol with several odditional documents that
would asstst Plaintiff in Wis preparation | see: attach -
ment Ceyhibit bod.

Conclusion

Wherefore, becouse ot befendants’ clearcut violation

to the appropriate Rule of the court, Plaintiff request |
sk his motion +o compel can be ranted i Plaintilts

pursuit lo be able to present o effective case.

(2)

Casé 1:18-cv-00878-CCC-MP Document 42-1 Filed 03/25/19 Page 3 of 12

witbown: LADUE
Me wWilllam nyotr7- 2957
sci smithfield
PO. Box% 999
20 Pike F
bate: October 26, .n18 Huntingdon, Fa. 16669

C3)

Case 1:18-cv-00878-CCC-MP Document 42-1 Filed 03/25/19 Page 4 of 12

In the United States bisttict Court For The Middle bistrict of
Penn Sylvania

William Mauo, | Civil Action%® 1:1%- CV-03F8
Plaintitt,
vo Hon. Judge John E. Jones IL
John E Wetzel,
befendants. Civil hight s complaint

beclaration In Support of Plaintif t's Motion To com pel

beclaran} Chereinal ter), william Mayo pro Se litigant, de-
clare onder the penalty of per ur that the fSilowin
16 true and correct to the best of beclarant § rer alo

o\ Knowledge and belies:

1 Upon receipt of the Courts Ochober 1, 201% onder Plain tt
immediate sent betendants’ O corre spondence inguirin
if befendants’ can disclose Cn copy of the aN SWEL }
beclarant's complaint that the cour} within the foreao-
ina order acknowledged has been Nled Con behalf
Pendants?) cles wr th several other documents that
beclarant deem Yangible in regard to ein g able to
adequately Hit gate this cose

C4)
Case 1:18-cv-00878-CCC-MP Document 42-1 Filed 03/25/19 Page 5 of 12

2 beclarant solemaly swear,and that ifs his position, that
betendants 16 visfieing ine abovementioned misconduct
-as a plo - to place eclarant at an dis advantage

L see: attachment CEyhbit bra J.

Pursuant to 24 U.S.C. 8 \F4b, T declare under penalty of
peryury that the foregoing is true and correct.

Lon. LOAM
Mp. willlam Moyo* FZ 294F
scl Smithfield
P.O. BoX% 999
1120 PiKe St
bate: October 2b, 2OIF Huntingdon, Po.1bb52

C5)

Case 1:18-cv-00878-CCC-MP Document 42-1 Filed 03/25/19 Page 6 of 12

Exhibit }

Case 1:18-cv-00878-CCC-MP Document 42-1 Filed 03/25/19 Page 7 of 12

Me william Mayo™ FZ 9444
SC| smithtield
PO Bor 999

W920 Pike St

Huntinedon, Pa 1bb52

Ocloher 9, 901%

Me Coleh C Fneeson, Esa

office at akorpeu General

isth EI aot... Strowhereu

Wort shuca, Pn 17190

(

Re: william Maula v John F. uletzel Ne L1D-CV-O8F6.

To.Me Enerson. Ff 3a

Tm writing You this beiet-notation ia regard to a ardec
boom the Cone} that 7 ceceived hated Sout-ig) denuing
my Motion tor entru_ot default acanted You Pled O.~on- “
swec however You never seat Mé o cou, iawhich was_the

. \o
motivating Focter that compelled Me to tile the chave-

_menotione motion, 501M dropping ou these Seu lines to
request if How can ond Canthes disclose all the relevant
toformatian that comcide with Me

subsequently being
yd, | |
placed on the Restricted Release List CORR") of your
_ C\ ot 2).

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eatlie s+ convenience pursuant to Rule 26(6)C) Fed R civ.P

—____If_4ou was an kind +o honor ony request I utould like

to utilize this opportunity to thank You in advance

ea es Lod ' Poti is Willow DOE 1

co-tile

(2)

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in The United States bistrict Court For The Middle bistr ch of
Pennsylvania

William Mayo, Civil Ochion®® 11% cv 084%
Plainkiff,
y Hon Judge John E. Jones IL
John E. Wetzel,
befendants. Civil Rights Complaint

ariel In Support of Plaintit ts Motion To Compe

Plaintiff. William Mayo pro se \idy ant, 1$ O mentally iM -
paired prisoner who've been oll ned Nn solitary C con
secutively since November 19,2015) whom is currently housed
ot $0) smithfield-initiated this action on opel) 20,2018 b
Mine a motion to proceed in forme pauperis, a civil "¢ S
com aint Calong with necessary ottachments in SU ppor

thereot \ thet a companied.
within the complaint, Plaintift nohitied the courd of

the tact that despite Plainti ft being on the active
mental health roster and take sso cds different p sy che
medications doily, however plaintift 1g being denied
any Ty pe of ‘therapeutic treatment and} or sai ty pe of
mental health treatment at all, inwhich has compelled
Plaintift bo display suicidg| behavior, inter alia, all

Cb)

Case 1:18-cv-00878-CCC-MP Document 42-1 Filed 03/25/19 Page 10 of 12

predicated Crom befendants abuse of discretion in re and to

lacin ploantit t on the Reshricted Release List (RRL with-
it an Commal notice nor hearing (which would have cre-
ated o opportuni? Cor the Psyche! bepartment to have ad -
vocoted on Plainti t's behalt ) concernin long berm soll to
ry continement net Jeteimental to sailhitt 5 pre existent
mental health condMion.

standard of Review

0 party who has received evasive or incomplete a1$.cov -
ery responses may seek a court order com pellin disclo-
sures of discovery of the materials sou ht Fe -R civ. P.
840a).° The movin must demonstrate the’relevance ot
the intormation 3, ht toa particular claim or defense.
Montanez v. Tht, sy Hb} 1b, 201b U.S. bi st. Lexis 69330, 201b
WL 3035310, at * 20Wb Po. May 2b, 201b),” the bueden then shits
lo the opposin party, who must Jemon strate if) specitic
terms why O \ccover request Joes not Fall within the
broad SCOPE of discover of 1S otherwise privile ed or
improper tA CeHting Goodman v. Bane’; S9o F. SUPP. 255, 258

CES. Pg 1992).

Primary Basis of Plainkift's Motion To compel

CF)
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To be oble to have befendants’ disclose the necessar
discovery disclosure So Plaintiff can be able to present
On effective case, particularly because both the Eighth and
Fourteenth amendments) to the United States const ho bien
stands at its corner stone L see: Clark: Murphy v. Fore back,
4394 F.3d 290,292 (bth Cif. 2006) holding that a prisoner's
right to mental health care, not ju St phy sical medical

care sis clearly established under the gth amendment). |
Conclusion

wherefore, Plaintiff respect Tully request if the court
Con grant his motion and compel befendants’ to disclose
Ihe Sboovementioned discovery disclosures at the Court s

earliest} convenience.

Wh LLLODN SHO

MC wWilllam Hol FZ- 2447
sc} smithtield
P.O.Box 999
1100 Pike S
Huntingdon, Pa 1ee62

bate - Octoher Qh, 201%

C$)

Case 1:18-cv-00878-CCC-MP Document 42-1 Filed 03/25/19 Page 12 of 12
certisicate of Service

I hereby certify that I am depositin in the U.S Mail a

keue and correct cop of the Poreqoinc motion to com pel

upon the person(s) in the manner indicated below:

Service by Pest class mar |
address as follow

vt. Caleb C. Enerson, E99: ug. bistrict Court
office of Oterney General 12% walnut St

15 Floor, Strawberry P.0. Box 188
Harrisburg, fa. 1#120 Harri sbure, Pa. \#108

UN LLLOQnN, SDA
Mewilliam Molo* FZ-294F
sc\ smithtield
P.O. Box 999
1120 Pike St
Huntingdon, Fa.tbbot

Late: October 2b, 20\8

C4)
